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                         UNITED STATES DISTRICT COURT
                                   FOR THE
                         EASTERN DISTRICT OF MISSOURI

AMGUARD INSURANCE COMPANY,

                     Plaintiff,

v.                                                       Civil Action No.: 4:20-cv-1853

T&J ENTERPRISES, INC., and MICHELLE A.
HILL, et. al.

                                  MOTION TO DISMISS

       COMES NOW Deborah Moses, Individually, and as the Next Friend of M. Moses,

by and through their attorney of record, Adam G. Grayson of the law office of Grayson &

Grayson LLC, and for their Motion to Dismiss hereby states as follows:

                                          FACTS

       On September 21, 2019, Defendants Deborah Moses and M. Moses were

passengers in a tow truck operated by Defendant Michele A. Hill (“Hill”). While

travelling northbound on MO-21, the vehicle went off the road and rolled repeatedly until

it slammed into a tree, pinning Defendants and causing them grievous bodily harm. Hill

was acting as an employee/agent of Defendants Jeffery Dean Pyrtle (individually and/or

d.b.a. T & J Towing), Theresa Pyrtle (individually and/or d.b.a. T & J Towing), and T &

J Enterprises, Inc. (individually and/or d.b.a. T & J Towing). These Defendants were

insured by an AmGuard Insurance Company policy with policy limits of $1 million per

injury occurrence. Defendants Deborah Moses and M. Moses demanded payment of this

policy due to the other Defendants’ negligence in their actions related to this collision


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which resulted in serious injury to Deborah and M. Moses. Plaintiff AmgGard Insurance

Company refused to pay the policy, and has now created this duplicate case for that

purpose.

                                   LEGAL STANDARD

       Federal Rule of Civil Procedure 12(b)(1) provides for dismissal of an action for

“lack of subject matter jurisdiction.” See FED. R. CIV. P. 12(b)(1). A Rule 12(b)(1) motion

can challenge the sufficiency of the pleadings to establish jurisdiction (facial attack), or a

lack of any factual support for subject matter jurisdiction despite the pleading’s sufficiency

(factual attack). See Grondal v. United States, 2012 U.S. Dist. LEXIS 19398, at *11-13

(E.D. Wash. Feb. 16, 2012) (Quackenbush, J.). For a facial attack, all allegations are

accepted as true. Id. For a factual attack, evidence outside the pleadings needed to resolve

factual disputes as to jurisdiction may be considered. See Assoc. of Am. Med. Coll. v. United

States, 217 F.3d 770, 778 (9th Cir. 2000). Plaintiffs have the burden of establishing

jurisdiction. See Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 377 (1994). Rule

12(b)(6), in turn, provides for dismissal of an action for “failure to state a claim upon which

relief can be granted.” See FED. R. CIV. P. 12(b)(6). For a 12(b)(6) motion, “all well-

pleaded allegations of material fact [are accepted as true] and construe[d] in the light most

favorable to the non-moving party.” Padilla v. Yoo, 678 F.3d 748, 757 (9th Cir. 2012).

“[C]onclusory allegations of law and unwarranted inferences” are insufficient. Associated

Gen’l Contractors v. Metro. Water Dist., 159 F.3d 1178, 1181 (9th Cir. 1998). A complaint

must state “evidentiary facts which, if true, will prove [the claim],” Kendall v. Visa U.S.A.,



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Inc., 518 F.3d 1042, 1047 (9th Cir. 2008), otherwise it will be dismissed. See Watson v.

Weeks, 436 F.3d 1152, 1157 (9th Cir. 2006).

                                        ARGUMENT

        Plaintiffs are unable to establish this Court’s jurisdiction over this case and have

failed to advance a claim upon which relief can be granted pursuant to Rule s12(b)(1) and

(6). Therefore, Defendants’ Motion to Dismiss should be granted and Plaintiff’s claims

should be dismissed.

   I.      Declaratory relief should be stayed because parallel proceedings are
           underway in state court.

        Federal courts should not rule in favor of declaratory judgment actions such as the

one at hand when there is a parallel state court proceeding, as “it would be uneconomical

as well as vexatious for a federal court to proceed in a declaratory judgment suit where

another suit is pending in a state court presenting the same issues, not governed by

federal law, between the same parties.” Brillhart v. Excess Ins. Co. of America, 316 U.S.

491, 495 (1942). “Gratuitous interference with the orderly and comprehensive disposition

of a state court litigation should be avoided.” Id. “[I]t is not for [federal courts] to attempt

to pronounce independently upon Missouri law. To do so would be to disregard the

limitations inherent in our appellate jurisdiction.” Id. at 497.

        “Where a District Court is presented with a claim such as was made here, it should

ascertain whether the questions in controversy between the parties to the federal suit, and

which are not foreclosed under the applicable substantive law, can better be settled in the

proceeding pending in the state court.” Id. at 495.


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      The present federal action arose from a state action filed in the Circuit Court of

Jefferson County, State of Missouri, with case number 19JE-CC00784. In this underlying

state court action, Petitioners Deborah Moses and M. Moses allege various counts of

negligence under Missouri law.

      Plaintiff relies upon several conclusory statements of law to argue that the issues it

seeks resolved are wholly separate from the underlying state litigation. Among these

legal and factual conclusions are statements such as “Guard has determined that there are

no circumstances under which any of the defendants in the [federal] Lawsuit, other than

Michele Hill, can be liable to Deborah and M[.] Moses since Michele Hill did not have

permission to drive the Tow Truck, and the Policy does not provide coverage for any of

the defendants in the [federal] Lawsuit based upon the facts as currently known.”

(Plaintiff’s Complaint, paragraph 37). Whether Michele Hill had permission to drive the

Tow Truck is a question of law and fact to be resolved under Missouri state law in the

pending state court action. Whether the policy provides coverage for the defendants is

similarly a question of fact to be determined pursuant to Missouri state laws regarding

negligence.

      Furthermore, the Plaintiff insurance company is well aware it is an integral party

to the underlying state court action. In this action, Deborah Moses and M. Moses sought

the payment of a $1 million insurance policy provided by Plaintiff AmGuard Insurance

Company (“insurance company”). After the insurance company was advised by multiple

counsel for the insured to pay the million dollar policy coverage, upon information and

belief, the insurance company hired outside counsel to obtain admissions from the

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insured with the sole purpose of invalidating coverage under the guise of working to

protect their insured’s interest. The insurance company has filed this extraneous lawsuit

for this reason as well. The underlying state court case is already in position to make

determinations regarding negligence and insurance policy coverage pursuant to Missouri

law. The issues at hand can therefore better be settled in the proceeding pending in the

state court.

       Courts act properly when they stay actions “for declaratory relief where parallel

proceedings, presenting opportunity for ventilation of the same state law issues, [are]

underway in state court.” Wilton v. Seven Falls Co., 515 U.S. 277, 290, (Mo. banc 1995).

Whether such a stay is appropriate can be determined using the factors found in and

based upon Brillhart v. Excess Ins. Co. of America, 316 U.S. 491, (1942).

       In Brillhart, the United States Supreme Court addressed circumstances similar to

those in the present suit. In anticipation of a state court suit, an insurer “sought a

declaration in federal court of nonliability on an insurance policy.” Wilton v. Seven Falls

Co., 515 U.S. 277, 282-283, (U.S. 1995); Id. The District Court dismissed the action in

favor of pending state proceedings, which included the insurer as a defendant. The Court

of Appeals reversed this decision, but on further appeal the Supreme Court sided with the

District Court. Id. The Supreme Court held that “although the District Court had

jurisdiction of the suit under the Federal Declaratory Judgments Act, it was under no

compulsion to exercise that jurisdiction.” Id. at 494. The Court stated that “it would be

uneconomical as well as vexatious for a federal court to proceed in a declaratory

judgment suit where another suit is pending in a state court presenting the same issues,

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not governed by federal law, between the same parties.” Id. at 495. The question for a

district court presented with a suit under the Declaratory Judgment Act is “whether the

questions in controversy between the parties to the federal suit, and which are not

foreclosed under the applicable substantive law, can better be settled in the proceeding

pending in the state court.” Id.

       The first of the factors initially developed by Brillhart is whether the issues “can

better be settled in the proceeding pending in the state court.” Brillhart, 316 U.S. at 495.

In determining if a case is “better settled” in a state action, the question is whether the

pending state action is a more effective remedy, not just whether it exists. 2-57 Moore’s

Federal Practice-Civil 57.42.2.b.ii.B. The Supreme Court directed the district court to

consider the following in making this determination: 1) the scope of the pending state

action and the nature of defenses there; 2) whether the claims of all parties in interest can

satisfactorily be adjudicated in state court; 3) whether necessary parties have been joined;

and 4) whether such parties are amenable to process in that proceeding. Id.

       The issues in this case can be better settled in the pending state court action. The

state action is based on negligence, and includes counts of general negligence, negligence

per se, and negligent hiring and retention. Specifically, the state court will have to

determine whether or not Michele Hill was an employee of Jeffrey Pyrtle, Theresa Pyrtle,

and/or T&J Enterprises, Inc., and whether Michele Hill, Jeffrey Pyrtle, Theresa Pyrtle,

and/or T&J Enterprises, Inc., committed negligence which would expose them to

liability, as well as whether such liability is to T&J Enterprises, Inc., and therefore



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insured by Plaintiff. Plaintiff’s federal Complaint assumes the answers to these questions

in its Complaint, but the state court is already poised to settle these and similar issues.

       As the state court will determine the negligence of all parties involved, the claims

of all parties in interest can satisfactorily be adjudicated in state court. Plaintiff’s

Complaint assumes facts not in evidence before the state court has had a chance to

determine such facts. The state case will determine the liability of all parties, including

that of Plaintiff’s insured. Plaintiff’s liability is tied to that of its insured, and its claim

with thus be fully litigated.

       All necessary parties have been joined in the state case. The parties to that case

include all those named in this federal suit, excepting only Plaintiff AmGuard Insurance

Company. The parties to the Jefferson County Circuit Court case and the present action

are Michele A. Hill, individually and d.b.a. T&J Towing, Jeffrey Dean Pyrtle,

individually and d.b.a. T&J Towing, Theresa Pyrtle, individually and d.b.a. T&J Towing,

and T&J Enterprises, Inc., individually and d.b.a. T&J Towing.

       All of the above-named parties are amenable to suit proceeding in Jefferson

County, Missouri. The wreck leading to the present action occurred on MO-21, which

was and is an open and public road in Jefferson County, State of Missouri. The subject

accident occurred in Jefferson County, and all named parties have already begun

litigating in Jefferson County.

       As stated in Brillhart, when “another suit involving the same parties and

presenting opportunity for ventilation of the same state law issues is pending in state

court, a district court might be indulging in ‘gratuitous interference,’ if it permit[s] the

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federal declaratory action to proceed.” Id. Parallel proceedings are already underway in

state court, and these proceedings present an opportunity of the same state law issues that

Plaintiff raises in its Complaint. Plaintiff is prematurely requesting this Court make

determinations of state law, despite the existence of an ongoing state court case, and

Plaintiff’s Complaint should therefore be dismissed.

   II.      Plaintiff is manufacturing diversity jurisdiction in order to improperly
            transfer this case to federal court.

         The underlying tort action giving rise to the present suit occurred in the State of

Missouri between a Missouri company and Missouri residents. The Plaintiff is an

insurance company whose headquarters may be located outside the State of Missouri;

however, Plaintiff was licensed to do business in the state of Missouri and issued an

insurance policy to a business located in and doing business in the State of Missouri.

Plaintiff has manufactured diversity for the present action using the location of Plaintiff’s

company headquarters. This is an improper use of diversity jurisdiction, and is a case

better suited for resolution in state court.

         Federal courts are courts of limited jurisdiction. The requirement that jurisdiction

be established as a threshold matter springs from the nature and limits of the judicial

power of the United States and is inflexible and without exception.” Kessler v. Nat'l

Enters., Inc., 347 F.3d 1076, 1081, (8th Cir. 2003). “Diversity jurisdiction exists when

there is a complete diversity of citizenship and an amount in controversy greater than $

75,000.” Dowell v. Debt Relief Am., L.P., 2007 U.S. Dist. LEXIS 46610, *3, 2007 WL

1876478. The party seeking federal jurisdiction bears the burden of establishing such


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jurisdiction exists “by a preponderance of the evidence.” Carter v. GE Transp., 2015 U.S.

Dist. LEXIS 95973, *12, 2015 WL 4487961; See also Hertz Corp. v. Friend, 559 U.S.

77, 96, 130 S. Ct. 1181, 175 L. Ed. 2d 1029 (2010). “When federal jurisdiction is

challenged, the parties asserting diversity jurisdiction must support their allegations by

competent proof. If they cannot meet their burden, or if the determination of these facts is

intertwined with the merits of the case, the court should remand.” Id.

       A federal court may exercise jurisdiction over a foreign defendant only to the

extent permitted by the forum state's long-arm statute and by the Due Process Clause of

the Constitution." Miller v. Nippon Carbon Co., 528 F.3d 1087, 1090 (8th Cir.

2008) (internal quotations and citation omitted). Because the Missouri long-arm statute is

construed as extending personal jurisdiction to the fullest extent permitted by

the Fourteenth Amendment's Due Process Clause, see J.C.W. ex rel. Webb v. Wyciskalla,

275 S.W.3d 249, 253 (Mo. banc 2009), the Court's jurisdictional inquiry is limited to

determining whether asserting personal jurisdiction over the defendant comports with due

process. See Mo. Rev. Stat. § 506.500.

       “General jurisdiction is a court's power to hear any matter in which the party is

involved.” Yaeger v. Wyndham Vacation Resorts, No. 4:14-CV-795-JCH, 2014 U.S. Dist.

LEXIS 97082, 2014 WL 3543426 at *2 (E.D. Mo. Jul. 17, 2014). “General jurisdiction is

always present in the corporation's domicile, which is its place of incorporation and its

principal place of business.” Daimler AG, 134 S. Ct. at 760. “The test for establishing

general jurisdiction outside of the corporation's domicile is whether the corporation's

contacts with the state are so "continuous and systematic" as to make it essentially at

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home in the forum state.” Id. at 761. Jinright v. Johnson & Johnson, Inc., 2017 U.S. Dist.

LEXIS 139270, *7-10, 2017 WL 3731317.

       The parties in this case all have strong ties to Missouri. Deborah Moses, M.

Moses, Michele Hill, Jeffrey Pyrtle, and Theresa Pyrtle are all citizens of the state of

Missouri, and T&J Enterprises, Inc., is a Missouri corporation. T&J Enterprises, Inc.,

holds an insurance policy through Plaintiff AmGuard Insurance Company. Upon

information and belief, AmGuard Insurance Company is a corporation created in

Pennsylvania, but with substantial ties to Missouri. AmGuard Insurance Company does

business in the state of Missouri, and provides insurance coverage to Missouri business

such as T&J Enterprises, Inc.

       Plaintiff AmGuard Insurance Company is not a party to the underlying state

action. In that state action, all parties are residents of the state of Missouri. Although

Plaintiff provides coverage to a Missouri company who is a party to the underlying suit

and also conducts extensive business in Missouri, Plaintiff has now brought this action in

federal court as a means of manufacturing diversity jurisdiction based on its state of

incorporation.

       28 U.S.C.S. § 1332(c)(1) provides that, with respect to federal diversity

jurisdiction, “a corporation shall be deemed to be a citizen of any State by which it has

been incorporated and of the State where it has its principal place of business.” Discovery

is necessary to completely determine Plaintiff’s principal place of business. However,

Plaintiff has shown to have substantial ties to Missouri, and conducts significant business

in Missouri. Furthermore, Plaintiffs liability to pay out any money due to the negligence

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of its insured is already being litigated in state court. Plaintiff now seeks to have this

Court make binding determinations on the state court case by splitting off from its

insured and manufacturing diversity.

   III.    Plaintiff’s claim is not ripe because it relies solely on unproven averments
           and denials from the Petition and Answer in the underlying Circuit Court
           Case.

       Plaintiff’s claim in this matter is not ripe, as it is based solely upon unproven

averments and denials from the Petition and Answer in the underlying Circuit Court

Case. In paragraph 53 of its Complaint, Plaintiff alleges as follows:

       Ripeness “requires [the Court] to evaluate both the fitness of the issues for judicial

decision and the hardship to the parties of withholding court consideration.” Tex. v.

United States, 523 U.S. 296, 300-301, (1998). “The ripeness doctrine reflects a judgment

that the disadvantages of a premature review that may prove too abstract or unnecessary

ordinarily outweigh the additional costs of -- even repetitive -- post-implementation

litigation.” Ohio Forestry Ass'n v. Sierra Club, 523 U.S. 726, 735, (1998). “The basic

rationale behind our ripeness doctrine is to prevent the courts, through premature

adjudication, from entangling themselves in abstract disagreements, when those

disagreements are premised on contingent future events that may not occur as anticipated,

or indeed may not occur at all.” Reno v. Catholic Soc. Servs., 509 U.S. 43, 72, (1993).

       In paragraph 53 of its Complaint, Plaintiff alleges as follows:

       The question of whether the Policy affords coverage to any of the defendants is
       ripe for judicial resolution because the availability of coverage for any of the
       defendants in the Lawsuit turns on a single legal issue- whether Michele Hill had
       T & J's permission to operate the Tow Truck based upon the known facts and
       evidence, which shows (1) that she was given permission to operate the Tow

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       Truck by her husband Earl Hill, (2) that Earl Hill was an employee tow truck
       driver for T & J, but did not have authority to act on behalf of T & J to grant
       permission to others to operate T & J trucks, (3) that Earl Hill was not an officer or
       manager of T & J and had no hiring authority, (4) that Michele Hill was not hired
       as an employee of T & J in the regular course of business, (5) that Michele Hill did
       not have the appropriate driver's license to allow her to legally operate the Tow
       Truck, and (6) that Michele Hill operated the Tow Truck without T & J's, Jeffrey
       Pyrtle's or Theresa Pyrtle's knowledge. (Plaintiff’s Complaint, paragraph 53).

       All six of the above items are legal and factual conclusions, and all six of these

items are already being litigated in state court. Plaintiff is seeking federal determination

of state court issues without actual evidence to support its conclusions. Plaintiff’s

arguments and conclusions rely entirely on unproven averments and denials from the

Petition and Answer in the underlying Circuit Court Case. The answers to these

questions must first be determined by the state court to prevent premature adjudication on

issues that require discovery and full litigation by the Circuit Court of Jefferson County.

As such, the issues raised by Plaintiff are not yet fit for judicial decision.

       For example, Plaintiff claims in paragraph 53 of its Complaint that Earl Hill “did

not have authority to act on behalf of T&J.” However, there is no evidence before this or

any court that this is correct. Defendants have had no opportunity to conduct discovery

establishing whether Earl Hill may be a board member of T&J Enterprises, Inc., or was

otherwise granted authority. Similarly, there is no evidence establishing whether or not

Earl Hill had any hiring authority, or whether any known board members, including

Brandon Pyrtle or Amanda Pyrtle, granted him such hiring authority. Defendants have

not had opportunity to gather discovery concerning Earl Hill’s possible employment

contracts, corporate policies and procedures, corporate directives, corporate bylaws, or


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other documents establishing who the corporation T&J Enterprises, Inc., authorized to

bind the corporation. There is also no evidence before this Court that Michele Hill

“operated the Tow Truck without T & J's, Jeffrey Pyrtle's or Theresa Pyrtle's

knowledge.” Discovery must be conducted to determine if this is factual, or simply a

conclusion beneficial to Plaintiff’s case.

       Lastly, the parties will not suffer hardship by the withholding of court

consideration. Plaintiff will only be required to pay out of its policy if the state court

determines its insureds are liable to Deborah and M. Moses. In fact, Deborah and M.

Moses will suffer hardship if Plaintiff’s claims are allowed to proceed, as this will deny

Defendants the opportunity to litigate their claims in the proper court, at the proper time,

and after proper discovery has been completed. As such, Plaintiff’s claims are not ripe

and should be dismissed.

       WHEREFORE, Defendant Deborah Moses, individually and as Next Friend of

Miriam Moses, respectfully prays for an order of this Court granting their Motion to

Dismiss and dismissing Plaintiff’s claims, and for such other and further relief as the

Court deems just and proper.




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                                                 Respectfully Submitted,

                                                 GRAYSON & GRAYSON, LLC


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                                                 ATTORNEYS FOR DEBORAH
                                                 MOSES AND M. MOSES

                             CERTIFICATE OF SERVICE

       COMES NOW the Defendant, Deborah Moses, Individually and as Next Friend of

M. Moses, a minor, by and through his attorney of record, and hereby certifies the

aforementioned disclosure and this certificate were served on the parties to this case on

January 19, 2021 by electronic mail properly addressed to the following:


PLAINTIFF: AMGUARD INSURANCE COMPANY
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DEFENDANT: MICHELE HILL

DEFENDANT: THERESA PYRTLE

DEFENDANT: JEFFREY PYRTLE

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